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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NE\M HAMPSHIRE


OLIVIA KARPINSKI        ANd   PAUL EDALAT               )
       Plaintiffs                                       )
                                                        )
v                                                       )      Docket No.   1:1   8-CV-01214-PB
                                                        )
LINION LEADER CORPORATION                               )
PATRICIA J. GROSSMITH AND TRENT E.                      )
SPINER                                                  )
       Defendants                                       )
                                                        )

                         NOTICE          ATTORNEY \üITHD RA\Ã/AI,

To the Clerk of this Court and all parties of record:

     Please enter the withdrawal of Mark D. Attorri as counsel        for OLIVIA KARPINSKI and
PAUL EDALAT with respect to the above-captioned matter.


November 8.2019                                         /s/ Mark D.
Date                                                    Mark D. Attorri, B.ar #9268
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                                 CERTIFICA          OF'SERVICE

       I hereby certify that on November ïth,2019,I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification of such filing to counsel
ofrecord.


                                                        /s/ Mark D. Attorri. Esquire
                                                        Mark D. Attorri, Esquire
